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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

In re:                                 )                     Chapter 11
                                       )
YELLOW CORPORATION, et al.1            )                     Case No. 23-11069 (CTG)
                                       )
Debtors.                               )                     (Jointly Administered)
                                       )
                                       )                     Related to Docket No.: ________
______________________________________ )

                 ORDER GRANTING MOTION OF AHMED ELSAMADY
                    FOR RELIEF FROM THE AUTOMATIC STAY
              PURSUANT TO SECTION 362(d) OF THE BANKRUPTCY CODE

         AND NOW, upon consideration of the Motion of Ahmed Elsamady (“Movant”), for an

Order granting relief from the automatic stay pursuant to Section 362(d) of the Bankruptcy Code

in order to allow certain state court litigation to proceed in the State of Kentucky (the “Motion”),

and any opposition thereto, and good cause to modify the stay having been found, and the Court

having determined that granting the relief requested in the Motion is appropriate.

         IT IS HEREBY ORDERED THAT:

         1.       The Motion is GRANTED.

         2.       The stay is lifted and an action may be commenced in the Shelby County Circuit

                  Court in the State of Kentucky (the “State Court Action”) and shall be permitted

                  to proceed to adjudication.

         3.       That Movant shall be entitled to liquidate and satisfy and judgment or other

                  resolution granted, if any, from applicable insurance coverage available to the


1
  A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
proposed claims and noticing agent at https://dm.epiq11.com/YellowCorporation. The location of Debtors’ principal
place of business and the Debtors’ service address in these chapter 11 cases is: 10990 Roe Avenue, Overland Park,
Kansas 66211.
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             Debtors.

      4.     To the extent that insurance proceeds are unavailable, or insufficient, Movant

             will return to this Court for disposition of his claim.

      5.     Relief from the automatic stay shall be effective immediately upon entry of this

             Order and the 14 day stay provided in Bankruptcy Rule 4001(a)(3) shall not

             apply.

      6.     This Court shall retain jurisdiction over any and all issues arising among or

             related to the implementation and interpretation of this Order.



                                                   BY THE COURT:


                                                   ____________________________
                                                   The Honorable Craig T Goldblatt
                                                   United States Bankruptcy Judge

Dated: December ____, 2023
